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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


UNITED STATES OF AMERICA,            )
                                     )
           v.                        )      1:15cr301 (JCC)
                                     )
MICHAEL HENDERSON,                   )
                                     )
     Defendant.                      )

                 M E M O R A N D U M        O P I N I O N

           This matter is before the Court on Defendant Michael

Henderson’s (“Defendant” or “Henderson”) Combined Motion for New

Trial Pursuant to Rule 33 and Motion for Acquittal Pursuant to

Rule 29.   [Dkt. 571.]    Henderson’s Second Motion for New Trial is

also before the Court.     [Dkt. 575.]    For the following reasons,

the Court will deny both of Defendant’s motions.

                             I. Standard of Review

A.   Motion for Judgment of Acquittal

           Federal Rule of Criminal Procedure 29(c) provides, in

relevant part, “if the jury has returned a guilty verdict, the

court may set aside the verdict and enter an acquittal.”           Where

such a motion is based on “insufficiency of the evidence, the

conviction must be sustained if the evidence, when viewed in the

light most favorable to the Government, is sufficient for any

rational trier of fact to find the essential elements of the crime




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beyond a reasonable doubt.”      United States v. Romer, 148 F.3d 359,

364 (4th Cir. 1998).

            When ruling on a Rule 29(c) motion, “the trial court

should only consider the sufficiency of the evidence presented in

that trial, not what evidence is likely to be admitted or excluded

in a future trial.”    United States v. Mackins, 32 F.3d 134, 138–39

(4th Cir. 1994).    The Government must be allowed “the benefit of

all reasonable inferences from the facts proven to those sought to

be established.”    United States v. Tresvant, 677 F.2d 1018, 1021

(4th Cir. 1982) (citations omitted).       “Furthermore, neither the

district court nor the appellate court should consider a

witnesses' credibility, but must assume that the jury resolved all

contradictions in favor of the Government.”         Romer, 148 F.3d at

364.

B.     Motion for New Trial

            Federal Rule of Criminal Procedure 33 provides, in

relevant part, that “the court may vacate any judgment and grant a

new trial if the interest of justice so requires.”          Fed. R. Crim.

P. 33.    The Fourth Circuit instructs that “a trial court should

exercise its discretion to award a new trial sparingly, and a jury

verdict is not to be overturned except in the rare circumstance

when the evidence ‘weighs heavily’ against it.”         United States v.

Smith, 451 F.3d 209, 216-17 (4th Cir. 2006) (citations omitted).

Although while addressing a Rule 33 motion a district court “is

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not constrained by the requirement that it view the evidence in

the light most favorable to the government,” such a motion should

only be granted when “the evidence weighs so heavily against the

verdict that it would be unjust to enter judgment.”          United States

v. Arrington, 757 F.2d 1484, 1485 (4th Cir. 1985).

                               II. Analysis

A.   Motion for Judgment of Acquittal

          Defendant Henderson’s omnibus motion, which consists of

just six sentences, adopts Defendant Seko’s motion for judgment of

acquittal in its entirety.      [Dkt. 571.]     Seko’s motion focuses

almost exclusively on the sufficiency of the evidence used to

convict her.   [Dkt. 566 at 3-17.]        As a result, the motion has

little or nothing to say about the sufficiency of the evidence

used to convict Henderson.      While the Court recognizes that

Henderson’s motion fails to meet the “heavy burden” required under

Rule 29(c) to set aside a unanimous jury verdict, see United

States v. Foster, 507 F.3d 233, 245 (4th Cir. 2007), it

nevertheless proceeds to analyze the testimony and documentary

evidence underlying his convictions.

          In the instant case, the Court finds that there was

ample evidence to convict Defendant Henderson of conspiracy and

mail and wire fraud.    For example, Joshua Johnson, Sabrina Rafo,

and Nicholas Estilow all testified that Henderson was involved in

the fraudulent scheme; in fact, Estilow described Henderson as one

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of the scheme’s best salespeople.         Two victims, Ronald D. and

Auntrae B., also testified that Henderson personally scammed them.

See also Gov’t Exhs. 84-1 through 84-9.         In addition, Estilow

testified that he observed Henderson disbursing the scheme’s

fraudulent proceeds to Araya, a point which Rafo later

corroborated.    Rafo also testified that she observed Henderson

opening bank accounts on behalf of the fraudulent scheme.           Her

testimony was then confirmed by documentary evidence, which

established that Henderson opened a number of bank accounts into

and from which he deposited and withdrew victim funds, frequently

in cash, see, e.g., Gov’t Exhs. 118-1, 118-2, 124-2 through 124-5,

125-1, 125-2, 125-4 through 125-6, 126-1 through 126-4, 128-1,

128-2, 128-4, 128-7, 128-11, 128-21, 129-1 through 129-3, 403-1,

403-2, 404-1, 404-2, 405-1, 405-2, 406-1, 406-3, 407-1, 407-2,

408-1, 409-1, as well as a number of retail mailboxes used to

receive those funds, see, e.g., Gov’t Exhs. 45-1, 55-1, 57-2, 59-

1, 87-3, 87-4.    Moreover, the documentary evidence showed that

Henderson personally retrieved victim funds that were sent through

MoneyGram, see Gov’t Exhs. 114-1, 114-2, 114-3, 115-1, and went

with Araya and Seko to open Permit 78 to continue sending mailings

to potential victims in the fall of 2013, see, e.g., Gov’t Exh.

40-2.   Finally, an employee of Chase Bank testified that she spoke

with Henderson, warning him that a victim complained about paying




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money for services that were never rendered.         See Gov’t Exh. 128-

19.

           Given the substantial weight of this evidence, and Rule

29(c)’s requirement to view that evidence in the light most

favorable to the Government, the Court holds that a reasonable

trier of fact could have found Defendant Henderson guilty beyond a

reasonable doubt of conspiracy and mail and wire fraud.

Accordingly, the Court denies Defendant’s motion for a judgment of

acquittal.

B.    Motion for New Trial

           Defendant Henderson’s omnibus motion also adopts

Defendant Seko’s motion for a new trial.        [Dkt. 571.]    Like her

motion for a judgment of acquittal, however, Seko’s motion for a

new trial focuses almost exclusively on the evidence against her,

namely the Postal Inspectors’ warning to her about continuing to

do business with Araya in April 2013.       [Dkt. 565 at 2-18; Dkt. 566

at 2-3.]   As with Araya’s motion, Henderson’s motion to adopt

makes it difficult to tell what objection he has to this

particular evidence.    If Henderson objects to it as inadmissible

hearsay, the Court has already overruled that objection several

times.   Nothing in Henderson’s six-sentence motion persuades the

Court that it should have ruled otherwise.        Furthermore, the Court

properly limited Inspector Gonzalez’s testimony for the jury,

instructing them that it was to be used only against Defendant

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Seko to help establish her state of mind, and not against any

other defendant or for the truth of the matters asserted.           Jury

Instructions at 57 (Instruction 40: Evidence Admitted for a

Limited Purpose Only).     Moreover, the jury was given at least

three reminders about considering the evidence against each

defendant separately.     See Jury Instructions at 12 (Instruction 9:

Give Each Defendant Separate Consideration), 54 (Instruction 38:

Statement of One Defendant in a Multi-Defendant Trial, and 75

(Instruction 52: Verdict – Multiple Defendants – Multiple Counts).

Accordingly, the Court finds no legitimate basis for disturbing

the jury’s verdict based upon Inspector Gonzalez’s testimony.

          In addition, Defendant Seko raises—and Defendant

Henderson now adopts—four additional grounds for a new trial: (1)

the indictment shown to the jury included the grand jury

foreperson’s signature; (2) the Court refused to instruct the jury

that the phrase, “We have been trying to reach you without

success,” was immaterial; (3) the Government should not have been

permitted to introduce evidence about Henderson’s failure to file

his tax returns; and (4) the Court improperly admitted Government

exhibits from the 34-series, which included documents seized at

Defendant Seko’s business in June 2014.        It is difficult to

discern how some of this evidence relates to Henderson’s

convictions, especially given that his six-sentence motion

provides no details.    Consequently, and for the same reasons set

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forth in the Court’s Memorandum Opinion accompanying Seko’s

motion, the Court finds no legitimate basis for granting Defendant

Henderson a new trial on these four grounds.

              Finally, Defendant Henderson’s Second Motion for a New

Trial [Dkt. 575] objects to the Court’s use of a deliberate

ignorance jury instruction.          Henderson first argues that this

instruction was overly broad and invited too much juror

speculation.       [Id. at 1.]    The remainder of Henderson’s motion

focuses on the lack of evidence to establish his own deliberate

ignorance.       [Id. at 1-3.]    Specifically, while relying on cases

from the Fifth and Ninth Circuits, Henderson contends that the

Court erred by using this instruction because “the record is

devoid of any evidence that defendant Henderson deliberately took

steps to avoid actual knowledge of facts.” 1           [Id. at 4.]

              The jury instruction to which Henderson now objects

states, in full, as follows:

              The government may prove that a defendant acted
              “knowingly” by proving, beyond a reasonable doubt, that
              a defendant deliberately closed his or her eyes to what
              would otherwise have been obvious. No one can avoid
              responsibility for a crime by deliberately ignoring what
              is obvious. A finding beyond a reasonable doubt of a
              defendant’s intent to avoid knowledge or enlightenment
              would permit the jury to find knowledge. Stated another
              way, a person’s knowledge of a particular fact may be
              shown from a deliberate or intentional ignorance or

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  Contrary to Henderson’s claim, “[t]he record need not contain direct evidence
. . . that the defendant deliberately avoided knowledge of wrongdoing; all that
is necessary is evidence from which the jury could infer deliberate avoidance of
knowledge.” United States v. Stone, 85 F. App’x 925, 934 (4th Cir. 2004)
(quoting United States v. Whittington, 26 F.3d 456, 463 (4th Cir. 1994)).

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          deliberate or intentional blindness to the existence of
          that fact.

          It is, of course, entirely up to you as to whether you
          find any deliberate ignorance or deliberate closing of
          the eyes and any inferences to be drawn from any such
          evidence.

          You may not conclude that a defendant had knowledge,
          however, from proof of a mistake, negligence,
          carelessness, or a belief in an inaccurate proposition.

See Jury Instructions at 53 (Instruction 37: Deliberate Ignorance

– Explained).   As pointed out by the Government, this instruction

is consistent with blackletter and Fourth Circuit law.           See 1A

O’Malley, Grenig and Lee, Federal Jury Practice and Instructions §

17:09 (6th ed. updated Aug. 2015); United States v. Ruhe, 191 F.3d

376, 384-85 (4th Cir. 1999); United States v. Guay, 108 F.3d 545,

551 (4th Cir. 1997); United States v. Abbas, 74 F.3d 506, 513-14

(4th Cir. 1996).    Despite claiming that this instruction was

overly broad, Henderson has identified no specific errors in the

chosen language.    Moreover, he failed to object to the instruction

as written during the charge conference, objecting instead only to

its application as to him.      Accordingly, the Court denies

Henderson’s request for a new trial based on his allegation that

the Court’s willful blindness instruction was too broad.

          The remainder of Henderson’s argument is that the

Government produced insufficient evidence to support the use of a

deliberate ignorance instruction against him.         However, “the

evidence support[ed] both actual knowledge on the part of the

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defendant and deliberate ignorance, [so] a willful blindness

instruction [wa]s proper.”      Ruhe, 191 F.3d at 384 (citing Abbas,

74 F.3d at 513).

          During closing arguments at trial, Henderson’s defense

was clear: he was either too stupid to understand the illegal

scheme, or not aware of the illegality of his and his co-

conspirators’ actions.     As the Government points out, the essence

of this argument is that Henderson did not know the victims were

being defrauded because he did not know that their payments never

made it to their lenders.     Opp. at 7.    Having asserted this

defense, combined with the evidence admitted at trial, the need to

instruct the jury about willful blindness was obvious.

          As pointed out above, Henderson was responsible for

opening retail mailboxes to receive victim funds.          See, e.g.,

Gov’t Exhs. 45-1, 55-1, 57-2, 59-1, 87-3, 87-4.         He also opened

bank accounts into and from which he deposited and withdrew those

funds, frequently in cash.      See, e.g., Gov’t Exhs. 118-1, 118-2,

124-2 through 124-5, 125-1, 125-2, 125-4 through 125-6, 126-1

through 126-4, 128-1, 128-2, 128-4, 128-7, 128-11, 128-21, 129-1

through 129-3, 403-1, 403-2, 404-1, 404-2, 405-1, 405-2, 406-1,

406-3, 407-1, 407-2, 408-1, 409-1.        Moreover, Henderson personally

retrieved victim funds that were sent through MoneyGram.           See

Gov’t Exhs. 114-1, 114-2, 114-3, 115-1.        On one occasion,

Henderson deposited a check with the memo line “loan mod” and then

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withdrew approximately the same amount in cash immediately

thereafter.   See Gov’t Exh. 125-5.        On another, a Chase Bank

employee testified that she warned Henderson that a victim had

complained about paying money into one of his bank accounts for

services that were never rendered.         See Gov’t Exh. 128-19.

Estilow, one of his co-conspirators, also testified that he had

observed Henderson disbursing the scheme’s proceeds to Araya.

Despite having access and control over all of these victim funds,

not a single piece of evidence at trial suggested that Henderson,

or anyone else, ever wrote a check to a mortgage lender.           The

evidence was therefore more than sufficient for the jury to infer

that Henderson deliberately avoided knowledge about his obvious

involvement in a fraudulent scheme.         Accordingly, the Court’s use

of the deliberate ignorance instruction was not in error.            No new

trial will be granted on that basis.

                              III.    Conclusion

           For the foregoing reasons, the Court will deny

Defendant’s motion for a judgment of acquittal.          The Court will

also deny Henderson’s motion for a new trial.

           An appropriate Order will issue.



                                                /s/
May 30, 2017                             James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE




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